B1 (Official Form 1) (04/13)
                                     UNITED STATES BANKRUPTCY COURT
                                                                                                                                    VOLUNTARY PETITION
                            NORTHERN DISTRICT OF CALIFORNIA
                                __________
 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
Danku, Attila
 All Other Names used by the Debtor in the last 8 years                                       All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 8481                                                          (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                  Street Address of Joint Debtor (No. and Street, City, and State):
 12 Adrian Way
 San Rafael, California
                                                         ZIP CODE                   94903                                                        ZIP CODE
 County of Residence or of the Principal Place of Business:                                   County of Residence or of the Principal Place of Business:
MARIN
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                   ZIP CODE
                           Type of Debtor                                       Nature of Business                          Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                       (Check one box.)                                           the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                          Health Care Business                              Chapter 7                  Chapter 15 Petition for
  X     Individual (includes Joint Debtors)                               Single Asset Real Estate as defined in            Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                             11 U.S.C. § 101(51B)                              Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                Railroad                                          Chapter 12                 Chapter 15 Petition for
        Partnership                                                       Stockbroker                                 X     Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check          Commodity Broker                                                             Nonmain Proceeding
        this box and state type of entity below.)                         Clearing Bank
                                                                          Other
                        Chapter 15 Debtors                                      Tax-Exempt Entity                                           Nature of Debts
 Country of debtor’s center of main interests:                               (Check box, if applicable.)                                    (Check one box.)
                                                                                                                      X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization             debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States             § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).               individual primarily for a
                                                                                                                          personal, family, or
                                                                                                                          household purpose.”
                                Filing Fee (Check one box.)                                                                   Chapter 11 Debtors
                                                                                              Check one box:
  X     Full Filing Fee attached.                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is        Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.        -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                                  A plan is being filed with this petition.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                               COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  X        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  X
 1-49          50-99          100-199           200-999    1,000-         5,001-          10,001-         25,001-           50,001-          Over
                                                           5,000          10,000          25,000          50,000            100,000          100,000

 Estimated Assets
                                                X

 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001     $10,000,001     $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10         to $50          to $100         to $500           to $1 billion    $1 billion
                                                million    million        million         million         million
 Estimated Liabilities
                                                X
 $0 to         $50,001 to    $100,001 to $500,001          $1,000,001     $10,000,001     $50,000,001 $100,000,001 $500,000,001              More than
 $50,000       $100,000
                Case:        $500,000
                            14-30921     to Doc#
                                            $1             1to $10      to $50
                                                                 Filed: 06/18/14          to Entered:
                                                                                             $100     to06/18/14
                                                                                                        $500       to $1 billion
                                                                                                                   07:22:43                  $1Page
                                                                                                                                                billion   1 of 59
                                         million            million     million           million     million
B1 (Official Form 1) (04/13)
 Voluntary Petition                                                                    Name of Debtor(s): Danku, Attila
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                                              Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                                              Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                                              Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X       s//s/Cory A. Birnberg                  June 18, 2014
                                                                                                    Signature of Attorney for Debtor(s)       (Date)
                                                                                                    Bar No.: 105468

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  X     No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

   X   Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
              X        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (04/13)                                                                                                                                                 Page 3
 Voluntary Petition                                                                          Name of Debtor(s): Danku, Attila
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    s/Attila Danku                                                                         X
      Signature of Debtor                      Attila Danku                                       (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      June 18, 2014                                                                               Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X    s//s/Cory A. Birnberg                                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Cory A. Birnberg                                                                       provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      BIRNBERG & ASSOCIATES                                                                  guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
       1083 Mission St., Third Floor                                                         or accepting any fee from the debtor, as required in that section. Official Form 19 is
       San Francisco, California 94103                                                       attached.
      Address
       (415) 398-1040
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
       June 18, 2014
      Date
       Bar No.: 105468                                                                            Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                  state the Social-Security number of the officer, principal, responsible person or
       Fax: (415) 398-2001
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
       E-mail: birnberg@birnberg.com
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.




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B 6 Summary (Official Form 6 - Summary) (12/13)



                                       UNITED STATES BANKRUPTCY COURT
                                          __________
                                           NORTHERN DISTRICT OF CALIFORNIA



In re                                                                                     Case No. ___________________
        Attila Danku
        ________________________________________,
                                                                                                  13
                                                                                          Chapter ____________
                   Debtor

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property
                                                    YES                  1            $    544,000.00

 B - Personal Property
                                                    YES                  3            $      11,875.00

 C - Property Claimed
     as Exempt
                                                    YES                  1

 D - Creditors Holding
                                                    YES                  1                                  $       586,832.00
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $           3,686.20
     Priority Claims                                YES
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $         11,749.00
     Nonpriority Claims                             YES                  4

 G - Executory Contracts and
     Unexpired Leases                               YES                  1

 H - Codebtors
                                                    YES                  1

 I - Current Income of
                                                    YES                  2
                                                                                                                                    $        5,772.00
     Individual Debtor(s)

 J - Current Expenditures of Individual
                                                    YES                  3                                                          $        5,376.00
     Debtors(s)

                                          TOTAL                                       $    555,875.00       $       602,267.20
                                                                         17




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B6A (Official Form 6A) (12/07)

In re Attila Danku,                                                                                 Case No.
                                           Debtor                                                                           (If known)


                                      SCHEDULE A - REAL PROPERTY




                                                                                    Husband, Wife, Joint,
                                                                                                              CURRENT VALUE




                                                                                       or Community
                                                                                                                OF DEBTOR’S
                  DESCRIPTION AND                                                                               INTEREST IN       AMOUNT OF
                                                      NATURE OF DEBTOR’S
                    LOCATION OF                                                                             PROPERTY, WITHOUT      SECURED
                                                     INTEREST IN PROPERTY
                     PROPERTY                                                                                 DEDUCTING ANY         CLAIM
                                                                                                              SECURED CLAIM
                                                                                                               OR EXEMPTION




 Primary Residence - Single Family Home
                                                    Fee Simple Ownership                   H                       $544,000.00           $558,832.00
 12 Adrian Way San Rafael CA 94903




                                                                                  Total ►                           $544,000.00


                                                    (Report also on Summary of Schedules.)




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B6 Cover (Form 6 Cover) (12/07)




FORM 6. SCHEDULES

Summary of Schedules
Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)

Schedule A - Real Property
Schedule B - Personal Property
Schedule C - Property Claimed as Exempt
Schedule D - Creditors Holding Secured Claims
Schedule E - Creditors Holding Unsecured Priority Claims
Schedule F - Creditors Holding Unsecured Nonpriority Claims
Schedule G - Executory Contracts and Unexpired Leases
Schedule H - Codebtors
Schedule I - Current Income of Individual Debtor(s)
Schedule J - Current Expenditures of Individual Debtors(s)

Unsworn Declaration Under Penalty of Perjury


GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
identified with the debtor’s name and case number. If the schedules are filed with the petition,
the case number should be left blank.

Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
claim is secured only in part or entitled to priority only in part, it still should be listed only once.
A claim which is secured in whole or in part should be listed on Schedule D only, and a claim
which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
the same claim twice. If a creditor has more than one claim, such as claims arising from separate
transactions, each claim should be scheduled separately.

Review the specific instructions for each schedule before completing the schedule.




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B 6B (Official Form 6B) (12/2007)

In re Attila Danku,                                                                                     Case No.
                                                    Debtor                                                                             (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                                            Joint, Or Community
                                                                                                                                    CURRENT VALUE OF




                                                                                                               Husband, Wife,
                                               N                                                                                  DEBTOR’S INTEREST IN
                                               O             DESCRIPTION AND LOCATION                                              PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                               N                   OF PROPERTY                                                       DEDUCTING ANY
                                               E                                                                                     SECURED CLAIM
                                                                                                                                      OR EXEMPTION


 1. Cash on hand.                                                                                                  H                                $200.00
                                                    Debtor


 2. Checking, savings or other financial            Checking                                                      H                                 $250.00
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


                                                    Savings                                                       H                                  $25.00



                                                    Savings and Checking                                          H                                 $100.00



 3. Security deposits with public utilities,
 telephone companies, landlords, and           X
 others.

 4. Household goods and furnishings,                kitchen table, sofa, 2 tv's, 2 mac computers, 4 beds,         H                                 $800.00
 including audio, video, and computer               bedroom furniture
 equipment.


 5. Books; pictures and other art objects;
 antiques; stamp, coin, record, tape,
                                               X
 compact disc, and other collections or
 collectibles.

 6. Wearing apparel.                                Day to Clothing                                               H                                 $200.00



 7. Furs and jewelry.                          X

 8. Firearms and sports, photographic,
                                               X
 and other hobby equipment.

 9. Interests in insurance policies. Name
 insurance company of each
                                               X
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name each
                                               X
 issuer.




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B 6B (Official Form 6B) (12/2007)

In re Attila Danku,                                                                    Case No.
                                                     Debtor                                            (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                              (Continuation Sheet)


 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)

 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.         X
 Give particulars.

 13. Stock and interests in incorporated
                                                X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                                X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable             X
 instruments.

 16. Accounts receivable.                       X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor       X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                                X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than       X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                                X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and      X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                                X
 intellectual property. Give particulars.

 23. Licenses, franchises, and other
                                                X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                                X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.


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B 6B (Official Form 6B) (12/2007)

In re Attila Danku,                                                                              Case No.
                                                   Debtor                                                   (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                (Continuation Sheet)


 25. Automobiles, trucks, trailers, and            2006 Toyota Sienna                                 H                   $8,000.00
 other vehicles and accessories.


                                                   1999 Nissan Patfinder 150,000 miles                H                   $2,300.00



 26. Boats, motors, and accessories.        X

 27. Aircraft and accessories.              X

 28. Office equipment, furnishings, and
                                            X
 supplies.

 29. Machinery, fixtures, equipment, and
                                            X
 supplies used in business.

 30. Inventory.                             X

 31. Animals.                               X

 32. Crops - growing or harvested. Give
                                            X
 particulars.

 33. Farming equipment and implements.      X

 34. Farm supplies, chemicals, and feed.    X

 35. Other personal property of any kind
                                            X
 not already listed. Itemize.


                                            2 continuation sheets attached         Total ►                               $11,875.00
                                                       (Include amounts from any continuation
                                                         sheets attached. Report total also on
                                                               Summary of Schedules.)




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B6C (Official Form 6C) (04/13)

In re Attila Danku,                                                                           Case No.
                                       Debtor                                                                        (If known)


                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                             $155,675.*
 11 U.S.C. § 522(b)(2)
 11 U.S.C. § 522(b)(3)

                                                                                                                        CURRENT
                                                                      SPECIFY LAW                VALUE OF
                                                                                                                   VALUE OF PROPERTY
                 DESCRIPTION OF PROPERTY                            PROVIDING EACH               CLAIMED
                                                                                                                   WITHOUT DEDUCTING
                                                                       EXEMPTION                EXEMPTION
                                                                                                                       EXEMPTION
 toyota Sienna                                                    C.C.P. § 703.140(b)(2)                                          $8,000.00


 1999 Nissan Patfinder 150,000 miles                              C.C.P. § 703.140(b)(2)              $2,300.00                   $2,300.00


 ***Property personal description CO***                           C.C.P. § 703.140(b)(1)                 $200.00                   $200.00


 Checking                                                         C.C.P. § 703.140(b)(1)                 $250.00                   $250.00


 Savings                                                          C.C.P. § 703.140(b)(1)                  $25.00                      $25.00


 Savings and Checking                                             C.C.P. § 703.140(b)(1)                 $100.00                   $100.00


 Day to Clothing                                                  C.C.P. § 703.140(b)(3)                 $200.00                   $200.00


 kitchen table, sofa, 2 tv's, 2 mac computers, 4 beds, bedroom    C.C.P. § 703.140(b)(3)                 $800.00                   $800.00
 furniture




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
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 B 6D (Official Form 6D) (12/07)


 In re ____________________________________,
       Attila Danku                                                                                                                                                                                                                                Case No. __________________________________
                                                                                                       Debtor                                                                                                                                                             (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                                      HUSBAND, WIFE,




                                                                                                                                                                                                                                           UNLIQUIDATED
   CREDITOR’S NAME AND                                                                                                                   DATE CLAIM WAS                                                                                                                                                                 AMOUNT OF CLAIM                                         UNSECURED




                                                                                                                                                                                                   CONTINGENT
                                                                                                       COMMUNITY
                                                                CODEBTOR
      MAILING ADDRESS                                                                                                                        INCURRED,                                                                                                                                                                      WITHOUT                                             PORTION, IF

                                                                                                        JOINT, OR




                                                                                                                                                                                                                                                                                  DISPUTED
  INCLUDING ZIP CODE AND                                                                                                                 NATURE OF LIEN ,                                                                                                                                                               DEDUCTING VALUE                                            ANY
    AN ACCOUNT NUMBER                                                                                                                           AND                                                                                                                                                                      OF COLLATERAL
     (See Instructions Above.)                                                                                                              DESCRIPTION
                                                                                                                                           AND VALUE OF
                                                                                                                                             PROPERTY
                                                                                                                                          SUBJECT TO LIEN
 ACCOUNT NO. 2475                                                                                                                       2/14/2008
BK OF AMER                                                                                                                              Secondary
4161 PIEDMONT PKWY                                                                                                                      Mortgage
GREENSBORO, NC 27410                                                                                                                                                                                                                        X                                                                                       $18,000.00                                        $18,000.00
                                                                                                                                        Primary Residence

                                                                                                                                               VALUE $      $544,000.00


ACCOUNT NO.                                                                                                                             12/13/2005
                                     ———————————————————



                                                                           ———————————————————




                                                                                                                       ———————————————————




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                                                                                                                                                                                                                                                                                                                                                     ———————————————————
           9931
—————————————————————————————————

ONEWEST BANK                                                                                                                            First Mortgage
6900 BEATRICE FSB
KALAMAZOO, MI 49009                                                                                                                     Primary Residence
                                                                                                                                                                                                                                            X                                                                                      $558,832.00                                        $14,832.00

                                                                                                                                ———————————————————————
                                                                                                                                VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                            $544,000.00



ACCOUNT NO. 7002                                                                                                                               6/17/2006
                                          ———————————————————



                                                                                ———————————————————




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PATELCO CU                                                                                                                                     Purchase-Money
156 SECOND STCREDIT                                                                                                                            Security Interest
RPTING DISP                                                                                                                                                                                                                                 X                                                                                        $10,000.00                                         $2,000.00
CREDIT RPTING DISP                                                                                                                             toyota Sienna
SAN FRANCISCO, CA 94105
                                                                                                                                   ———————————————————————
                                                                                                                                   VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                               $8,000.00




 ____
   0 continuation sheets                                                                                                                       Subtotal ►                                                                                                                                                               $           586,832.00 $                                        34,832.00
      attached                                                                                                                                 (Total of this page)
                                                                                                                                               Total ►                                                                                                                                                                  $           586,832.00 $                                        34,832.00
                                                                                                                                               (Use only on last page)
                                                                                                                                                                                                                                                                                                                        (Report also on Summary of                           (If applicable, report
                                                                                                                                                                                                                                                                                                                        Schedules.)                                          also on Statistical
                                                                                                                                                                                                                                                                                                                                                                             Summary of Certain
                                                                                                                                                                                                                                                                                                                                                                             Liabilities and Related
                                                                                                                                                                                                                                                                                                                                                                             Data.)
          Case: 14-30921                     Doc# 1                                                               Filed: 06/18/14                                        Entered: 06/18/14 07:22:43                                                                                                                                          Page 11 of 59
B 6E (Official Form 6E) (04/13)

       In re
                 Attila Danku                                                          ,              Case No.
                                                             Debtor                                                       (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

X Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            1 continuation sheets attached
                                                           ____
         Case: 14-30921              Doc# 1        Filed: 06/18/14            Entered: 06/18/14 07:22:43                   Page 12 of 59
B 6E (Official Form 6E) (04/13) – Cont.



      Attila Danku
In re __________________________________________,                                                                                       Case No. _________________________________
                   Debtor                                                                                                                                 (if known)


   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                (Continuation Sheet)

                  Taxes and Certain Other Debts Owed to Governmental Units Type of Priority for Claims Listed on This Sheet

                                                                                                                                                                                                       -




                                                                                                                                                                UNLIQUIDATED
       CREDITOR’S NAME,                                                                              DATE CLAIM WAS                                                                                             AMOUNT                     AMOUNT                  AMOUNT




                                                                                                                                        CONTINGENT
                                                                         HUSBAND, WIFE,

                                                                          COMMUNITY
        MAILING ADDRESS                                                                               INCURRED AND                                                                                                OF                       ENTITLED                   NOT

                                                                           JOINT, OR




                                                                                                                                                                                          DISPUTED
      INCLUDING ZIP CODE,                                                                            CONSIDERATION                                                                                               CLAIM                        TO                   ENTITLED
                                                       CODEBTOR


     AND ACCOUNT NUMBER                                                                                 FOR CLAIM                                                                                                                          PRIORITY                    TO
       (See instructions above.)                                                                                                                                                                                                                                  PRIORITY, IF
                                                                                                                                                                                                                                                                      ANY
                                            ————————
                                                              ————————


                                                                                          ————————




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                                                                                                                                                                                                                                                       ————————
———————————————
 Account No. 3331                                                                             2013


Marin County Tax Assessor X                                                                                                                                                                                     $3,686.20                  $3,686.20                 $0.00
PO Box 4220                                                                                   Federal Taxes
San Rafael, CA 94913

——————————————————————————————————————————————————




            1 of ___
 Sheet no. ___     1 continuation sheets attached to Schedule                                                                        Subtotals'                                                             $       3,686.20 $                3,686.20                   $0.00
 of Creditors Holding Priority Claims                                                                                       (Totals of this page)

                                                                                                                                         Total'                                                             $       3,686.20
                                                                                                     (Use only on last page of the completed
                                                                                                     Schedule E. Report also on the Summary
                                                                                                     of Schedules.)

                                                                                                                                         Totals'                                                                                       $      3,686.20 $                  0.00
                                                                                                     (Use only on last page of the completed
                                                                                                     Schedule E. If applicable, report also on
                                                                                                     the Statistical Summary of Certain
                                                                                                     Liabilities and Related Data.)




          Case: 14-30921                    Doc# 1                                    Filed: 06/18/14                        Entered: 06/18/14 07:22:43                                                                                      Page 13 of 59
B 6F (Official Form 6F) (12/07)


          Attila Danku
    In re _________________________________________________________,                                                            Case No. _________________________________
                                            Debtor                                                                                                      (if known)
         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
           G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                                   HUSBAND, WIFE,

                                                                                    COMMUNITY
              CREDITOR’S NAME,                                                                                     DATE CLAIM WAS                                                                                                   AMOUNT OF




                                                                                                                                                                              UNLIQUIDATED
                                                                                     JOINT, OR




                                                                                                                                                     CONTINGENT
                                                            CODEBTOR
               MAILING ADDRESS                                                                                      INCURRED AND                                                                                                      CLAIM




                                                                                                                                                                                                         DISPUTED
             INCLUDING ZIP CODE,                                                                                 CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                          CLAIM.
                  See instructions above.                                                                       IF CLAIM IS SUBJECT TO
                                                                                                                   SETOFF, SO STATE.

       ACCOUNT NO.
                                                —————————

                                                                       —————————




                                                                                                    —————————




                                                                                                                                         —————————


                                                                                                                                                                  —————————

                                                                                                                                                                                             —————————

                                                                                                                                                                                                                    —————————
                   2910
       ————————————————                                                                                   1/25/2010
                                                                                                          Canceled by credit grantor
        CITI                                                                                              FX Banks and S and Ls                                                                                                        $6,508.00
        POB 6241
        SIOUX FALLS, SD 57117

       ———————————————————————————————————————————————————

       ACCOUNT NO.
                                                —————————

                                                                       —————————




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                                                                                                                                                                  —————————

                                                                                                                                                                                             —————————

                                                                                                                                                                                                                    —————————
                   0586
       ————————————————                                                                                   12/14/2010
                                                                                                          Charge Account Oil
        SYNCB/CHEVRO                                                                                      companies                                                                                                                     $179.00
        P.O BOX 965015
        ORLANDO, FL 32896

       ———————————————————————————————————————————————————

       ACCOUNT NO.
                                                —————————

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                                                                                                                                                                                                                    —————————
                   7295
       ————————————————                                                                                   7/9/2007
                                                                                                          PRL Charge Account
        THD/CBNA                                                                                          Banks and S and Ls                                                                                                           $1,324.00
        PO BOX 6497
        SIOUX FALLS, SD 57117

       ———————————————————————————————————————————————————

       ACCOUNT NO.
                                                —————————

                                                                       —————————




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                                                                                                                                                                                             —————————

                                                                                                                                                                                                                    —————————




                   2750
       ————————————————                                                                                   4/15/2000
                                                                                                          Account information
        THD/CBNA                                                                                          disputed by consumer                                                                                                         $3,738.00
        PO BOX 6497                                                                                       Charge Account Banks and
        SIOUX FALLS, SD 57117                                                                             S and Ls
       ———————————————————————————————————————————————————



                                                                                                                                                                                  Subtotal'                                     $      11,749.00
           0
         _____continuation sheets attached                                                                                                                Total'                                                                $      11,749.00
                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                              Summary of Certain Liabilities and Related Data.)




             Case: 14-30921                  Doc# 1                       Filed: 06/18/14                             Entered: 06/18/14 07:22:43                                                          Page 14 of 59
   B 6G (Official Form 6G) (12/07)

   In re Attila Danku,                                                          Case No.
                                                Debtor                                     (if known)

   SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
    Check this box if debtor has no executory contracts or unexpired leases.


                                                                 DESCRIPTION OF CONTRACT OR LEASE AND
         NAME AND MAILING ADDRESS,                                NATURE OF DEBTOR’S INTEREST. STATE
             INCLUDING ZIP CODE,                                 WHETHER LEASE IS FOR NONRESIDENTIAL
   OF OTHER PARTIES TO LEASE OR CONTRACT.                           REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT.




Case: 14-30921           Doc# 1       Filed: 06/18/14          Entered: 06/18/14 07:22:43               Page 15 of 59
B 6 Summary (Official Form 6 - Summary) (12/13)


                                   UNITED STATES BANKRUPTCY COURT
                                      _________________________________
                                            NORTHERN DISTRICT OF CALIFORNIA


In re                                                                                   Case No. ___________________
        Attila Danku
        _______________________________________,                                                13
                                                                                        Chapter ____________
                   Debtor


    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

            Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $            0.00
 Taxes and Certain Other Debts Owed to Governmental Units             $       3,686.20
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $            0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $            0.00
 Domestic Support, Separation Agreement, and Divorce Decree           $            0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $            0.00
 Obligations (from Schedule F)

                                                           TOTAL      $       3,686.20

State the following:
 Average Income (from Schedule I, Line 12)                            $       5,772.00
 Average Expenses (from Schedule J, Line 22)                          $       5,376.00
 Current Monthly Income (from Form 22A Line 12; OR, Form              $      7,954.00
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $       34,832.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $       3,686.20
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $              0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $       11,749.00

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                       $    46,581.00
          Case: 14-30921              Doc# 1      Filed: 06/18/14          Entered: 06/18/14 07:22:43                 Page 16 of 59
B 6H (Official Form 6H) (12/07)

In re Attila Danku,                                                         Case No.
                                                     Debtor                                  (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR

***Creditor priority codebtor state RMC***
                                                                 Marin County Tax Assessor
                                                                 Account No.: 3331
Vilma Danku
                                                                 PO Box 4220
12 Adrian Way
                                                                 San Rafael, CA 94913
San Rafael, CA 94903




     Case: 14-30921               Doc# 1       Filed: 06/18/14   Entered: 06/18/14 07:22:43      Page 17 of 59
 Fill in this information to identify your case:


 Debtor 1            Attila Danku
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Northern District of California _
 United States Bankruptcy Court for : ______________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                           Debtor 1                                Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status             Employed
                                                                       X
                                                                                                                   X
                                                                                                                        Employed
    employers.                                                         Not employed                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 General manager
                                                                    __________________________________           Pre School Teacher
                                                                                                                 __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name             Ghirardelli Chocolate Company
                                                                    __________________________________            Osher Marin JCC Pre- School
                                                                                                                 __________________________________


                                         Employer’s address          24 Willie Mays Plaza
                                                                    _______________________________________     200 No. San Pedro Rd
                                                                                                               ________________________________________
                                                                      Number Street                             Number    Street

                                                                    _______________________________________    ________________________________________

                                                                    _______________________________________    ________________________________________

                                                                     San Francisco, CA 94103
                                                                    _______________________________________     San Rafael, CA 94903
                                                                                                               ________________________________________
                                                                     City            State  ZIP Code             City                State ZIP Code

                                         How long employed there?          _______                                _______
                                                                                                                  6 years


 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     5,366.00                2,488.00
                                                                                             $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________           0.00
                                                                                                                 + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.     5,366.00
                                                                                             $__________              2,488.00
                                                                                                                    $____________



           Case: 14-30921
Official Form B 6I
                                        Doc# 1            Filed: 06/18/14       Entered: 06/18/14 07:22:43
                                                                  Schedule I: Your Income
                                                                                                                           Page 18 of 59
                                                                                                                                       page 1
Debtor 1          Attila Danku
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.       5,366.00
                                                                                                                          $___________           2,488.00
                                                                                                                                                $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      982.00
                                                                                                                         $____________            560.00
                                                                                                                                                $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.      0.00
                                                                                                                         $____________            100.00
                                                                                                                                                $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.      0.00
                                                                                                                         $____________            0.00
                                                                                                                                                $_____________
     5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                         $____________            0.00
                                                                                                                                                $_____________
     5e. Insurance                                                                                               5e.      100.00
                                                                                                                         $____________            240.00
                                                                                                                                                $_____________
     5f. Domestic support obligations                                                                            5f.      0.00
                                                                                                                         $____________            0.00
                                                                                                                                                $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________            40.00
                                                                                                                                                $_____________
                                    Dental Insurance
     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________          60.00
                                                                                                                                              + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      1,082.00
                                                                                                                         $____________            1,000.00
                                                                                                                                                $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      4,284.00
                                                                                                                         $____________            1,488.00
                                                                                                                                                $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                    0.00
                                                                                                                         $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________            0.00
                                                                                                                                                $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          0.00                    0.00
                                                                                                                         $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________            0.00
                                                                                                                                                $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________            0.00
                                                                                                                                                $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                          $____________          $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                         $____________            0.00
                                                                                                                                                $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      0.00
                                                                                                                         $____________            0.00
                                                                                                                                                $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          4,284.00
                                                                                                                         $___________     +      1,488.00
                                                                                                                                                $_____________     5,772.00
                                                                                                                                                               = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
             0
    Specify: _______________________________________________________________________________                                                                            0.00
                                                                                                                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                12.
                                                                                                                                                                        5,772.00
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X
           No.
          Yes. Explain:


           Case: 14-30921
Official Form B 6I
                                                  Doc# 1            Filed: 06/18/14       Entered: 06/18/14 07:22:43
                                                                            Schedule I: Your Income
                                                                                                                                                       Page 19 of 59
                                                                                                                                                                   page 2
  Fill in this information to identify your case:

  Debtor 1           Attila Danku
                     __________________________________________________________________
                      First Name                 Middle Name             Last Name                       Check if this is:
                      Vilma Danku
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                 Middle Name             Last Name
                                                                                                          An amended filing
                                       Northern District of California _
                                                                                                          A supplement showing post-petition chapter 13
  United States Bankruptcy Court for : ______________________                                                expenses as of the following date:
                                                                                                             ________________
  Case number         ___________________________________________                                            MM / DD / YYYY
  (If known)
                                                                                                          A separate filing for Debtor 2 because Debtor 2
                                                                                                             maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                               12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

                X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                        No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 X
                                                   Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                       each dependent..........................
   Do not state the dependents’                                                        Daughter                                14                No
                                                                                      _________________________                ________
   names.                                                                                                                                    
                                                                                                                                             X
                                                                                                                                                  Yes

                                                                                       Daughter
                                                                                      _________________________                9
                                                                                                                               ________          No
                                                                                                                                             
                                                                                                                                             X
                                                                                                                                                  Yes

                                                                                      _________________________                ________          No
                                                                                                                                                 Yes

                                                                                      _________________________                ________          No
                                                                                                                                                 Yes

                                                                                      _________________________                ________          No
                                                                                                                                                 Yes

3. Do your expenses include
   expenses of people other than
                                            X
                                                   No
   yourself and your dependents?                  Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                          Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                  2,841.00
                                                                                                                                 $_____________________
     any rent for the ground or lot.                                                                                     4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                            4a.      Unknown
                                                                                                                                 $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                 4b.      50.00
                                                                                                                                 $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                4c.      50.00
                                                                                                                                 $_____________________
     4d.    Homeowner’s association or condominium dues                                                                  4d.      0.00
                                                                                                                                 $_____________________

          Case:
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                                                                   Schedule          Entered: 06/18/14 07:22:43
                                                                            J: Your Expenses                                        Page 20 of 59
                                                                                                                                                page 1
 Debtor 1         Attila Danku
                 _______________________________________________________                 Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                    Your expenses

                                                                                                                    0.00
                                                                                                                   $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                              5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                  6a.     120.00
                                                                                                                   $_____________________
      6b.   Water, sewer, garbage collection                                                                6b.     100.00
                                                                                                                   $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.     70.00
                                                                                                                   $_____________________
      6d.   Other. Specify: _______________________________________________                                 6d.     0.00
                                                                                                                   $_____________________

 7. Food and housekeeping supplies                                                                          7.      700.00
                                                                                                                   $_____________________

 8. Childcare and children’s education costs                                                                8.      0.00
                                                                                                                   $_____________________
 9. Clothing, laundry, and dry cleaning                                                                     9.      250.00
                                                                                                                   $_____________________
10.   Personal care products and services                                                                   10.     100.00
                                                                                                                   $_____________________
11.   Medical and dental expenses                                                                           11.     160.00
                                                                                                                   $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                    175.00
                                                                                                                   $_____________________
      Do not include car payments.                                                                          12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.     200.00
                                                                                                                   $_____________________
14.   Charitable contributions and religious donations                                                      14.     0.00
                                                                                                                   $_____________________
                                                                                                                                                 1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                   15a.    0.00
                                                                                                                   $_____________________
      15b. Health insurance                                                                                 15b.    0.00
                                                                                                                   $_____________________
      15c. Vehicle insurance                                                                                15c.    100.00
                                                                                                                   $_____________________
      15d. Other insurance. Specify:_______________________________________                                 15d.    0.00
                                                                                                                   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                    0.00
                                                                                                                   $_____________________
      Specify: ________________________________________________________                                     16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                       17a.    460.00
                                                                                                                   $_____________________

      17b. Car payments for Vehicle 2                                                                       17b.
                                                                                                                    0.00
                                                                                                                   $_____________________

      17c. Other. Specify:_______________________________________________                                   17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                   17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                        0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                 18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                        19.     0.00
                                                                                                                   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                      20a.
                                                                                                                    0.00
                                                                                                                   $_____________________

      20b. Real estate taxes                                                                                20b.    0.00
                                                                                                                   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                     20c.
                                                                                                                    0.00
                                                                                                                   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                         20d.    0.00
                                                                                                                   $_____________________

      20e. Homeowner’s association or condominium dues                                                      20e.
                                                                                                                    0.00
                                                                                                                   $_____________________



           Case:
 Official Form B 6J    14-30921               Doc# 1    Filed: 06/18/14
                                                            Schedule          Entered: 06/18/14 07:22:43
                                                                     J: Your Expenses                                 Page 21 of 59
                                                                                                                                  page 2
 Debtor 1         Attila Danku
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.     0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         5,376.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                          5,772.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      5,376.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                          396.00
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.     Explain here:




           Case:
 Official Form B 6J    14-30921              Doc# 1    Filed: 06/18/14
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B6 Declaration (Official Form 6 - Declaration) (12/07)


      In re
              Attila Danku
              _________________________________________                                                                  ,                Case No. ______________________________
                           Debtor                                                                                                                              (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            19 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


      June 18, 2014
Date __________________________________                                                                                        s/Attila Danku
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                        Attila DankuDebtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                                                            (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
              Case: 14-30921                           Doc# 1                Filed: 06/18/14                        Entered: 06/18/14 07:22:43                                          Page 23 of 59
B 1D (Official Form 1, Exhibit D) (12/09)




                             UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF CALIFORNIA

In re Attila Danku                                                           Case No.
                                       Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors’ collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.




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B 1D (Official Form 1, Exh. D) (12/09) – Cont.



         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor: s/Attila Danku

Date: June 18, 2014




                                                                   2
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B 7 (Official Form 7) (04/13)




                          UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF CALIFORNIA


In re: Attila Danku                                                     Case No
                                 Debtor                                                             (if known)



                                          STATEMENT OF FINANCIAL AFFAIRS

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (2014):
                         $14,874.00                                       employment


                         Previous Year 1 (2013):
                         $2,000.00                                        employment


                         Previous Year 2 (2012):
                         $2,000.00                                        employment

            Spouse:
                         Current Year (2014):
                         $13,680.00                                       employment


                         Previous Year 1 (2013):
                         $27,000.00                                       employment


                         Previous Year 2 (2012):
                         $27,000.00                                       employment



            2. Income other than from employment or operation of business

None        State the amount of income received by the debtor other than from employment, trade, profession, operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
            joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
            must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

                                AMOUNT                                        SOURCE




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         3. Payments to creditors

         Complete a. or b., as appropriate, and c.

None     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
         this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                    PAYMENTS               PAID                    STILL OWING


         Debtor:
         PATELCO CU                                                 15th every month       $1,320.00               $10,000.00
         156 SECOND STCREDIT RPTING DISP
         CREDIT RPTING DISP
         SAN FRANCISCO, CA 94105

         Spouse:
         N/A


None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                     PAYMENTS/              PAID OR                STILL
                                                                     TRANSFERS              VALUE OF               OWING
                                                                                            TRANSFERS




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case
        to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATE OF                AMOUNT                 AMOUNT
         AND RELATIONSHIP TO DEBTOR                                  PAYMENT                PAID                   STILL OWING




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.




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       4. Suits and administrative proceedings, executions, garnishments and attachments

None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
      preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)separated and a joint petition is not filed.)

       CAPTION OF SUIT                              NATURE OF                  COURT OR                   STATUS OR
       AND CASE NUMBER                              PROCEEDING                 AGENCY AND                 DISPOSITION
                                                                               LOCATION




None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                         DATE OF                AND VALUE
       BENEFIT PROPERTY WAS SEIZED                                 SEIZURE                OF PROPERTY




       5. Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                  DATE OF REPOSSESSION,                     DESCRIPTION
       NAME AND ADDRESS                           FORECLOSURE SALE,                         AND VALUE
       OF CREDITOR OR SELLER                      TRANSFER OR RETURN                        OF PROPERTY




       6. Assignments and receiverships

None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                          TERMS OF
       NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
       OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                      DESCRIPTION




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       NAME AND ADDRESS                   OF COURT                           DATE OF           AND VALUE
       OF CUSTODIAN                       CASE TITLE & NUMBER                ORDER             OF PROPERTY




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                  RELATIONSHIP                                          DESCRIPTION
       OF PERSON                         TO DEBTOR,                         DATE               AND VALUE
       OR ORGANIZATION                   IF ANY                             OF GIFT            OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                     DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                    LOSS WAS COVERED IN WHOLE OR IN PART                            DATE
       PROPERTY                        BY INSURANCE, GIVE PARTICULARS                                  OF LOSS




       9. Payments related to debt counseling or bankruptcy

None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.

                                                DATE OF PAYMENT,                          AMOUNT OF MONEY OR
       NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
       OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

       Debtor:
       Consumer Credit Counseling San           6/12/14                                  $50.00
       Francisco
       ***Bankruptcy dtr counseling payee
       address RTE***



       Spouse:
       N/A



       10. Other transfers




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None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
      the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                              DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
       RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
      to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                          DATE(S) OF           AMOUNT OF MONEY OR DESCRIPTION
       NAME OF TRUST OR OTHER                             TRANSFER(S)          AND VALUE OF PROPERTY OR DEBTOR’S
       DEVICE                                                                  INTEREST IN PROPERTY




       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

                                                                  TYPE OF ACCOUNT, LAST FOUR                   AMOUNT AND
       NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                    DATE OF SALE
       OF INSTITUTION                                             AND AMOUNT OF FINAL                          OR CLOSING
                                                                  BALANCE




       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                     NAMES AND ADDRESSES               DESCRIPTION                  DATE OF
       OF BANK OR                           OF THOSE WITH ACCESS              OF                           TRANSFER
       OTHER DEPOSITORY                     TO BOX OR DEPOSITORY              CONTENTS                     OR SURRENDER,
                                                                                                           IF ANY




       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding




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      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                              DATE OF                        AMOUNT
       NAME AND ADDRESS OF CREDITOR                                           SETOFF                         OF SETOFF




       14. Property held for another person


None   List all property owned by another person that the debtor holds or controls.


       NAME AND ADDRESS                           DESCRIPTION AND
       OF OWNER                                   VALUE OF PROPERTY                        LOCATION OF PROPERTY




       15. Prior address of debtor

None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
      which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
       filed, report also any separate address of either spouse.

       ADDRESS                                      NAME USED                               DATES OF OCCUPANCY




       16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME




       17. Environmental Information.

       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous




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       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
       governmental unit, the date of the notice, and, if known, the Environmental Law:

       SITE NAME                             NAME AND ADDRESS     DATE OF                                    ENVIRONMENTAL
       AND ADDRESS                           OF GOVERNMENTAL UNIT NOTICE                                     LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

       SITE NAME                            NAME AND ADDRESS     DATE OF                                     ENVIRONMENTAL
       AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                      LAW




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
      respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
       party to the proceeding, and the docket number.

       NAME AND ADDRESS                                                                                STATUS OR
       OF GOVERNMENTAL UNIT                                             DOCKET NUMBER                  DISPOSITION




       18 . Nature, location and name of business

None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
      and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
       the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities, within six years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities within six years immediately preceding the commencement of this case.


                            LAST FOUR DIGITS
                            OF SOCIAL-SECURITY                                                                       BEGINNING
                            OR OTHER INDIVIDUAL                                                                      AND
                            TAXPAYER-I.D. NO                                                 NATURE OF               ENDING
       NAME                 (ITIN)/ COMPLETE EIN             ADDRESS                         BUSINESS                DATES




None   b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
      defined in 11 U.S.C. § 101.




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          NAME                                      ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

          NAME AND ADDRESS                                                                      DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
         case have audited the books of account and records, or prepared a financial statement of the debtor.

          NAME                                      ADDRESS                                     DATES SERVICES RENDERED




None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
         books of account and records of the debtor. If any of the books of account and records are not available, explain.

          NAME                                                 ADDRESS




None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

          NAME AND ADDRESS                                                                    DATE ISSUED




          20. Inventories

None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
         taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                                DOLLAR AMOUNT
                                                                                                OF INVENTORY




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                                                                                             (Specify cost, market or other
       DATE OF INVENTORY                         INVENTORY SUPERVISOR                        basis)




None   b. List the name and address of the person having possession of the records of each of the inventories reported
      in a., above.

                                                 NAME AND ADDRESSES
                                                 OF CUSTODIAN
       DATE OF INVENTORY                         OF INVENTORY RECORDS




       21. Current Partners, Officers, Directors and Shareholders

None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                            NATURE OF INTEREST                        PERCENTAGE OF INTEREST




None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
      directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.

                                                                                             NATURE AND PERCENTAGE
       NAME AND ADDRESS                            TITLE                                     OF STOCK OWNERSHIP




       22. Former partners, officers, directors and shareholders

None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
      preceding the commencement of this case.

       NAME                                      ADDRESS                                     DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
      within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                    TITLE                                   DATE OF TERMINATION




       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.




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       NAME & ADDRESS                                                                                        AMOUNT OF MONEY
       OF RECIPIENT,                                      DATE AND PURPOSE                                   OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                             OF WITHDRAWAL                                      AND VALUE OF PROPERTY




       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
      consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                                                    TAXPAYER-IDENTIFICATION NUMBER (EIN)




       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                                                         TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                                    ******


       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
       and any attachments thereto and that they are true and correct.



                                                                                 Signature
       Date June 18, 2014                                                        of Debtor         s/Attila Danku

                                                                                 Signature of
                                                                                 Joint Debtor
       Date                                                                      (if any)

                                                           0 continuation sheets attached


          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B 22C (Official Form 22C) (Chapter 13) (04/13)


      Attila Danku
In re ______________________________                             According to the calculations required by this statement:
                Debtor(s)                                           The applicable commitment period is 3 years.
                                                                  X The applicable commitment period is 5 years.
Case Number: __________________                                   X Disposable income is determined under § 1325(b)(3).
               (If known)                                           Disposable income is not determined under § 1325(b)(3).
                                                                 (Check the boxes as directed in Lines 17 and 23 of this statement.)


                       CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                 AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing
jointly. Joint debtors may complete one statement only.


                                                  Part I. REPORT OF INCOME
          Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
   1      a.   Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
          b. X Married. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 2-10.
          All figures must reflect average monthly income received from all sources, derived during the    Column A         Column B
          six calendar months prior to filing the bankruptcy case, ending on the last day of the month     Debtor’s         Spouse’s
          before the filing. If the amount of monthly income varied during the six months, you must         Income           Income
          divide the six-month total by six, and enter the result on the appropriate line.
   2      Gross wages, salary, tips, bonuses, overtime, commissions.                                      $    5,366.00 $     2,488.00
          Income from the operation of a business, profession, or farm. Subtract Line b from Line a
          and enter the difference in the appropriate column(s) of Line 3. If you operate more than one
          business, profession or farm, enter aggregate numbers and provide details on an attachment.
          Do not enter a number less than zero. Do not include any part of the business expenses
   3      entered on Line b as a deduction in Part IV.
            a.      Gross receipts                                 $                          0.00
            b.      Ordinary and necessary business expenses       $                          0.00
            c.      Business income                                Subtract Line b from Line a            $        0.00 $           0.00
          Rent and other real property income. Subtract Line b from Line a and enter the difference
          in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include
          any part of the operating expenses entered on Line b as a deduction in Part IV.
   4        a.      Gross receipts                                 $                          0.00
            b.      Ordinary and necessary operating expenses      $                          0.00
            c.      Rent and other real property income            Subtract Line b from Line a            $        0.00 $           0.00
   5      Interest, dividends, and royalties.                                                             $        0.00 $           0.00
   6      Pension and retirement income.                                                                  $        0.00 $         100.00
          Any amounts paid by another person or entity, on a regular basis, for the household
          expenses of the debtor or the debtor’s dependents, including child support paid for that
   7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
          debtor’s spouse. Each regular payment should be reported in only one column; if a payment is
          listed in Column A, do not report that payment in Column B.                                     $        0.00 $           0.00




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          Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
          However, if you contend that unemployment compensation received by you or your spouse
          was a benefit under the Social Security Act, do not list the amount of such compensation in
   8      Column A or B, but instead state the amount in the space below:
           Unemployment compensation claimed to
           be a benefit under the Social Security Act   Debtor $ ________      Spouse $ _________            $        0.00 $         0.00
          Income from all other sources. Specify source and amount. If necessary, list additional
          sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
          maintenance payments paid by your spouse, but include all other payments of alimony or
          separate maintenance. Do not include any benefits received under the Social Security Act or
   9      payments received as a victim of a war crime, crime against humanity, or as a victim of
          international or domestic terrorism.
            a.       0.00                                                           $             0.00
            b.                                                                      $                        $        0.00 $         0.00
          Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
  10
          through 9 in Column B. Enter the total(s).                                                         $    5,366.00 $     2,588.00
          Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
  11      enter the total. If Column B has not been completed, enter the amount from Line 10, Column
          A.                                                                                                 $                   7,954.00

                          Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
  12      Enter the amount from Line 11.                                                                                     $   7,954.00
          Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
          calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
          spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a
          regular basis for the household expenses of you or your dependents and specify, in the lines below, the basis
          for excluding this income (such as payment of the spouse’s tax liability or the spouse’s support of persons
          other than the debtor or the debtor’s dependents) and the amount of income devoted to each purpose. If
  13      necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do not
          apply, enter zero.
            a.                                                                       $
            b.                                                                       $
            c.                                                                       $
          Total and enter on Line 13.                                                                                        $       0.00
  14      Subtract Line 13 from Line 12 and enter the result.                                                                $   7,954.00

  15      Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
          and enter the result.                                                                                 $ 95,448.00
          Applicable median family income. Enter the median family income for applicable state and household size.
  16      (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
          court.)
                                                   California
          a. Enter debtor’s state of residence: _______________                                           4
                                                                  b. Enter debtor’s household size: __________               $ 75,111.00
          Application of § 1325(b)(4). Check the applicable box and proceed as directed.
             The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
  17          3 years” at the top of page 1 of this statement and continue with this statement.
           X The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment period
              is 5 years” at the top of page 1 of this statement and continue with this statement.
          Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
  18      Enter the amount from Line 11.                                                                                     $   7,954.00



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          Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
          of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses
          of the debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the Column B
          income (such as payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor
          or the debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list additional
  19      adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
            a.                                                                       $
            b.                                                                       $
            c.                                                                       $
          Total and enter on Line 19.                                                                                       $       0.00
  20      Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                      $   7,954.00

  21      Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12
          and enter the result.                                                                                 $ 95,448.00
  22      Applicable median family income. Enter the amount from Line 16.                                                   $ 75,111.00
          Application of § 1325(b)(3). Check the applicable box and proceed as directed.
           X The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
  23          under § 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
             The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
              determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not
              complete Parts IV, V, or VI.
                               Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                    Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
          National Standards: food, apparel and services, housekeeping supplies, personal care, and
          miscellaneous. Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living
          Expenses for the applicable number of persons. (This information is available at www.usdoj.gov/ust/ or from
 24A
          the clerk of the bankruptcy court.) The applicable number of persons is the number that would currently be
          allowed as exemptions on your federal income tax return, plus the number of any additional dependents
          whom you support.                                                                                                 $   1,465.00
          National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
          of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
          of-Pocket Health Care for persons 65 years of age or older. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
          persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
          years of age or older. (The applicable number of persons in each age category is the number in that category
          that would currently be allowed as exemptions on your federal income tax return, plus the number of any
          additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons
 24B      under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65
          and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter
          the result in Line 24B.
            Persons under 65 years of age                          Persons 65 years of age or older
            a1.     Allowance per person                   60.00 a2.      Allowance per person                 144.00
            b1.     Number of persons                          4 b2.      Number of persons                          0
            c1.     Subtotal                             240.00 c2.       Subtotal                                0.00      $    240.00
          Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
          Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
 25A      available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size
          consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
          the number of any additional dependents whom you support.                                                         $    636.00




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          Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
          IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information
          is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size
          consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
          the number of any additional dependents whom you support); enter on Line b the total of the Average
          Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and
 25B      enter the result in Line 25B. Do not enter an amount less than zero.
            a.      IRS Housing and Utilities Standards; mortgage/rent expense      $                     3,664.00
            b.      Average Monthly Payment for any debts secured by your
                    home, if any, as stated in Line 47                              $                         0.00
            c.      Net mortgage/rental expense                                     Subtract Line b from Line a.          $   3,664.00
          Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
          and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
          Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
  26      your contention in the space below:
          ________________________________________________________________________________________
          ________________________________________________________________________________________
          ________________________________________________________________________________________ $                              0.00
          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
          expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
          regardless of whether you use public transportation.
          Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
          are included as a contribution to your household expenses in Line 7.    0      1 X 2 or more.
 27A
          If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
          Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
          Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
          Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
          the bankruptcy court.)                                                                                          $    612.00
          Local Standards: transportation; additional public transportation expense. If you pay the operating
          expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
 27B      additional deduction for your public transportation expenses, enter on Line 27B the “Public Transportation”
          amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
          the clerk of the bankruptcy court.)                                                                             $       0.00
          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
          two vehicles.)       1 X 2 or more.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
          Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
  28      Line a and enter the result in Line 28. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                   $                        517.00
            b.      Average Monthly Payment for any debts secured by Vehicle 1,
                    as stated in Line 47                                            $                        133.00
            c.      Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.          $    384.00




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          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
          checked the “2 or more” Box in Line 28.
          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
          Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
  29      Line a and enter the result in Line 29. Do not enter an amount less than zero.
            a.      IRS Transportation Standards, Ownership Costs                     $                         517.00
            b.      Average Monthly Payment for any debts secured by Vehicle 2,
                    as stated in Line 47                                              $                           0.00
            c.      Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a.          $    517.00
          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
  30      federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
          taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                      $       0.00
          Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
  31      deductions that are required for your employment, such as mandatory retirement contributions, union dues,
          and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                            $       0.00
          Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
  32      term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
          life or for any other form of insurance.                                                                          $       0.00
          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
  33      to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
          Do not include payments on past due obligations included in Line 49.                                         $            0.00
          Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
          Enter the total average monthly amount that you actually expend for education that is a condition of
  34
          employment and for education that is required for a physically or mentally challenged dependent child for
          whom no public education providing similar services is available.                                                 $       0.00
          Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
  35      childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
          payments.                                                                                                         $       0.00
          Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
          on health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed
  36
          by insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do
          not include payments for health insurance or health savings accounts listed in Line 39.                           $       0.00
          Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
          actually pay for telecommunication services other than your basic home telephone and cell phone service—
  37
          such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
          your health and welfare or that of your dependents. Do not include any amount previously deducted.                $       0.00
  38      Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                               $   7,518.00
                                    Subpart B: Additional Living Expense Deductions
                           Note: Do not include any expenses that you have listed in Lines 24-37




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B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                          6
          Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
          expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or
          your dependents.
            a.        Health Insurance                                                 $              0.00
  39
            b.        Disability Insurance                                             $              0.00
            c.        Health Savings Account                                           $              0.00
          Total and enter on Line 39
                                                                                                                              $      0.00
          If you do not actually expend this total amount, state your actual total average monthly expenditures in the
          space below:
                     0.00
          $ ____________
          Continued contributions to the care of household or family members. Enter the total average actual
          monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
  40
          elderly, chronically ill, or disabled member of your household or member of your immediate family who is
          unable to pay for such expenses. Do not include payments listed in Line 34.                                         $      0.00

          Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
  41      actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or
          other applicable federal law. The nature of these expenses is required to be kept confidential by the court.  $            0.00
          Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
          Local Standards for Housing and Utilities that you actually expend for home energy costs. You must provide
  42
          your case trustee with documentation of your actual expenses, and you must demonstrate that the
          additional amount claimed is reasonable and necessary.                                                     $               0.00
          Education expenses for dependent children under 18. Enter the total average monthly expenses that you
          actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary
   43     school by your dependent children less than 18 years of age. You must provide your case trustee with
          documentation of your actual expenses, and you must explain why the amount claimed is reasonable
          and necessary and not already accounted for in the IRS Standards.                                                   $      0.00
          Additional food and clothing expense. Enter the total average monthly amount by which your food and
          clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
  44      National Standards, not to exceed 5% of those combined allowances. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
          amount claimed is reasonable and necessary.                                                                         $      0.00
          Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
  45      charitable contributions in the form of cash or financial instruments to a charitable organization as defined in
          26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                 $      0.00
  46      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                         $      0.00
                                                 Subpart C: Deductions for Debt Payment
          Future payments on secured claims. For each of your debts that is secured by an interest in property that
          you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
          Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
          total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
          filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the
          total of the Average Monthly Payments on Line 47.

                   Name of Creditor                Property Securing the Debt              Average     Does payment
  47                                                                                       Monthly      include taxes
                                                                                           Payment      or insurance?
            a. ONEWEST BANK Primary Residence                                      $          3,000.00 
                                                                                                       X yes  no
            b. PATELCO CU   toyota Sienna                                          $            133.00  yes  X no
            c. BK OF AMER   Primary Residence                                      $                 0.00  yes 
                                                                                                                X no
                                                                                   Total: Add
                                                                                   Lines a, b, and c                          $   3,133.00

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B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                          7
          Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence,
          a motor vehicle, or other property necessary for your support or the support of your dependents, you may
          include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor in addition
          to the payments listed in Line 47, in order to maintain possession of the property. The cure amount would
          include any sums in default that must be paid in order to avoid repossession or foreclosure. List and total any
          such amounts in the following chart. If necessary, list additional entries on a separate page.
  48
                    Name of Creditor                 Property Securing the Debt         1/60th of the Cure Amount
            a. ONEWEST BANK                  Primary Residence                         $                   1,000.00
            b. PATELCO CU                    toyota Sienna                             $                        0.00
            c. BK OF AMER                    Primary Residence                         $                        0.00
                                                                                       Total: Add Lines a, b, and c          $   1,000.00
          Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
  49      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
          filing. Do not include current obligations, such as those set out in Line 33.                                      $     61.44
          Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
          resulting administrative expense.

            a.    Projected average monthly chapter 13 plan payment.                   $                          0.00
            b.    Current multiplier for your district as determined under
  50
                  schedules issued by the Executive Office for United States
                  Trustees. (This information is available at www.usdoj.gov/ust/
                  or from the clerk of the bankruptcy court.)                          x
            c.    Average monthly administrative expense of chapter 13 case
                                                                                       Total: Multiply Lines a and b         $       0.00
  51      Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                         $   4,194.44
                                                 Subpart D: Total Deductions from Income
  52      Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                      $ 11,712.44

                   Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
  53      Total current monthly income. Enter the amount from Line 20.                                                       $   7,954.00
          Support income. Enter the monthly average of any child support payments, foster care payments, or
  54      disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
          nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                               $
          Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
  55      wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
          repayments of loans from retirement plans, as specified in § 362(b)(19).                                   $
  56      Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                  $ 11,712.44
          Deduction for special circumstances. If there are special circumstances that justify additional expenses for
          which there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines
          a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the total in
          Line 57. You must provide your case trustee with documentation of these expenses and you must
          provide a detailed explanation of the special circumstances that make such expenses necessary and
          reasonable.
  57                Nature of special circumstances                                Amount of expense
            a.                                                                     $
            b.                                                                     $
            c.                                                                     $
                                                                                   Total: Add Lines a, b, and c              $       0.00
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B 22C (Official Form 22C) (Chapter 13) (04/13)                                                                                                8

  58      Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter
          the result.                                                                                                             $ 11,712.44
  59      Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                       $ -3,758.44

                                             Part VI: ADDITIONAL EXPENSE CLAIMS
          Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
          and welfare of you and your family and that you contend should be an additional deduction from your current monthly
          income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
          average monthly expense for each item. Total the expenses.
  60                                       Expense Description                                      Monthly Amount
            a.                                                                                 $
            b.                                                                                 $
            c.                                                                                 $
                                                             Total: Add Lines a, b, and c        $                         0.00

                                                     Part VII: VERIFICATION
          I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case,
          both debtors must sign.)

  61
                                June 18, 2014
                          Date: ________________________                                    s/Attila Danku
                                                                                 Signature: ________________________
                                                                                                     (Debtor)
                          Date: ________________________                         Signature: ________________________
                                                                                             (Joint Debtor, if any)




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                                           NORTHERN DISTRICT OF CALIFORNIA




×² ®»
          Attila Danku
                                                                                         Ý¿-» Ò±ò ÁÁÁÁÁÁÁÁÁÁÁ

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 Debtor to pay fee through the plan




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 Relief From Stay, Adversary proceedings




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      June 18, 2014
      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ                           s//s/Cory A. Birnberg
                                             ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
                Ü¿¬»                                               Cory A. Birnberg
                                                               Í·¹²¿¬«®» ±º ß¬¬±®²»§

                                                           BIRNBERG & ASSOCIATES
                                             ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
________________________________________________________________________________________________________
In Re:                                                                   Case No.
         Attila Danku


                   Debtor(s)
________________________________________________________________________________________________________

                                          DECLARATION RE: ELECTRONIC FILING OF
                                           PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER
                  Attila Danku
          I (WE) _________________________________,             the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

  X If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
petition, statements, and schedules is true and correct.

   If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition.

    If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, if dismissed, I may not receive a discharge of my debts.


       June 18, 2014
Dated: _____________________________

        s/Attila Danku
Signed: _______________________________________                              ______________________________________________
                     (Applicant)                                                            (Joint Applicant)


PART II - DECLARATION OF ATTORNEY

          I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
of which I have knowledge.

       June 18, 2014
Dated: ______________________                                                     s//s/Cory A. Birnberg
                                                           Attorney for Debtor(s) _________________________________________
                                                                                   Cory A. Birnberg
                                                                                   _________________________________________
                                                           Address of Attorney     1083 Mission St., Third Floor
                                                                                   _________________________________________
                                                                                   San Francisco, California 94103
                                                                                   _________________________________________




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                         UNITED STATES BANKRUPTCY COURT
                              Northern District of California


In re:
                                                 Case No. BKY
Attila Danku,

Debtor(s)                                        Chapter 13 Case


         STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

I, ***Debtor authorized individual name TE***, declare under penalty of perjury that I am the
duly appointed and qualified guardian ad litem of Attila Danku, that I am authorized to file a
voluntary petition commencing a chapter 13 voluntary bankruptcy case on behalf of Attila
Danku, and that a certified copy of my appointment as such guardian ad litem is attached and
made a part of this statement.


Executed on: June 18, 2014                       Signed:
                                                 ***Debtor authorized individual name TE***
                                                 (Name and Address of Subscriber)




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FB 201A (Form 201A) (11/12)



                              UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
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         Form B 201A, Notice to Consumer Debtor(s)                                                          Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)


                                UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF CALIFORNIA
                                ________________________________________




In re
        Attila Danku
        ___________________________________                                         Case No. _______________
                   Debtor
                                                                                    Chapter ________________
                                                                                            13



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE


                                  Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

_____________________________________________                                       _______________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address:                                                                            preparer is not an individual, state the Social Security
                                                                                    number of the officer, principal, responsible person, or
                                                                                    partner of the bankruptcy petition preparer.) (Required
X_______________________________________________                                    by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.



                                                         Certification of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.



Attila Danku
_________________________________________                                   s/Attila Danku               June 18, 2014
                                                                          X______________________________________________
Printed Name(s) of Debtor(s)                                              Signature of Debtor                  Date

Case No. (if known) ________________________                                s/Vilma Danku                    June 18, 2014
                                                                          X______________________________________________
                                                                          Signature of Joint Debtor (if any)      Date


___________________________________________________________________________________________________

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.



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Form B203 - Disclosure of Compensation of Attorney for Debtor - (1/88)                                                       1998 USBC, Central District of California



                                          UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

 In re                                                                                           Case No.:
 Attila Danku

                                                                                                 DISCLOSURE OF COMPENSATION
                                                                                                   OF ATTORNEY FOR DEBTOR
                                                                                   Debtor.



1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me,
   for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy
   case is as follow:

     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                5,450.00
                                                                                                                                             $_____________
     Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.00
                                                                                                                                             $_____________
     Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     5,450.00
                                                                                                                                             $_____________


2. The source of the compensation paid to me was:

     q Debtor
      X
                                q Other (specify)


3. The source of compensation to be paid to me is:

     q Debtor
      X
                                q Other (specify)


4. q I have not agreed to share the above-disclosed compensation with any other person unless they are members and
      X



     associates of my law firm.

     q I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates
       of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation,
       is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition
        in bankruptcy;

     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e. [Other provisions as needed].
        Debtor to pay fee through the plan


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Form B203 Page Two - Disclosure of Compensation of Attorney for Debtor (1/88)                         1998 USBC, Central District of California




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services
    Relief From Stay, Adversary proceedings




                                                                 CERTIFICATION

         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
      representation of the debtor(s) in this bankruptcy proceeding.




      June 18, 2014
      __________________________________                                   s//s/Cory A. Birnberg
                                                                           __________________________________________
      Date                                                                 Signature of Attorney



                                                                           BIRNBERG & ASSOCIATES
                                                                           __________________________________________
                                                                           Name of Law Firm




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                                                                   UNITED STATES BANKRUPTCY COURT



In re:                                                                                                                    Case No.
         Attila Danku
                                                                                                                          Chapter    13


                                                       APPLICATION/ORDER FOR FEES
                                                            Memorandum of Receipts and Disbursements;
                                                      Statement of Attorney Pursuant to Bankruptcy Rule 2016(b);
                                                                          and Order Thereon

TO THE HONORABLE BANKRUPTCY JUDGE:

Applicant hereby makes application for fees and represents that the fee arrangement in this proceeding is as follows:

1. That Applicant, as attorney for the debtor, has performed all services necessary for the confirmation of the Debtor's Plan. The
services include interviews with debtor; the preparation and filing of the Debtor's Petition, Chapter 13 Statement, Plan and
Plan Analysis; and appearance at the § 341 meeting and confirmation hearing.

2. That Applicant believes a reasonable fee for said services to be        $5,450.00           and prays that said fee be approved and allowed.

3. That Applicant has received payments from the debtor and made disbursements on behalf of the debtor, as follows:
                         Total Received                                               $0.00
                         Disbursements:
                                Filing fee                                                         $0.00
                                Trustee
                                                                                                   $0.00
                                Other
                                                                                                   $0.00                             $0.00
                         Total Disbursements:
                         Amount applied to attorneys' fees                                                                           $0.00
                         Balance of attorneys' fees                                                                              $5,450.00

The total amount of money paid to attorney on behalf of debtor within one (1) year of the date of filing is the sum of   $3,000.00
including fees reserved for Chapter 13.
4. That in addition to the foregoing statements, Applicant makes the following statements pursuant to Bankruptcy Rule 2016(b):

         (a) The details set forth by the debtor herein in the Chapter 13 Statement concerning compensation paid and compensation
promised to be paid to his attorney of record is a true, complete and accurate statement of the agreement between the debtor
and the attorney of record for legal services rendered and to be rendered herein.

         (b) The source of the monies paid by the debtor to the attorney of record to the best of the knowledge and belief of said

attorney was: Employmnet            income to be paid through Chapter 13 plan-- Fee represents
 3500 basic fee, 850 real property, 500 vehcile and 600 motion to avoid liens
         (c) The attorney of record has not shared or agreed to share, other than with members of the law firm or corporation,
any of said compensation with any other person except:




 Dated:      June 18, 2014                                       s//s/Cory A. Birnberg
                                                                 Cory A. Birnberg
                                                                Attorney for Debtor




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                                                 UNITED STATES BANKRUPTCY COURT
                                                      Northern District of California


                                     STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. § 341



INTRODUCTION

            Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Bankruptcy
Administrator has prepared this information sheet to help you understand some of the possible consequences
of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make
you aware of -
            (1) the potential consequences of seeking a discharge in bankruptcy,
                  including the effects on credit history;
            (2) the effect of receiving a discharge of debts in bankruptcy;
            (3) the effect of reaffirming a debt; and
            (4) your ability to file a petition under a different chapter of the Bankruptcy
                  Code.
            There are many other provisions of the Bankruptcy Code that may affect your situation. This
statement contains only general principles of law and is not a substitute for legal advice. If you have any
questions or need further information as to how the bankruptcy laws apply to your specific case, you should
consult with your lawyer.

WHAT IS A DISCHARGE?

           The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you
listed in your bankruptcy schedules. A discharge is a court order that says that you do not have to repay your
debts, but there are a number of exceptions. Debts which usually may not be discharged in your chapter 7
case include, for example, most taxes, child support, alimony, and student loans; court-ordered fines and
restitution; debts obtained through fraud or deception; debts which were not listed in your bankruptcy
schedules; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may
be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records; or make
a false oath. Creditors cannot ask you to repay debts which have been discharged. You can only receive a
chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?

           The fact that you filed bankruptcy can appear on your credit report for as long as 10 years.
Thus, filing a bankruptcy petition may affect your ability to obtain credit in the future. Also, you may not be
excused from repaying debts that were not listed on your bankruptcy schedules or that you incurred after you
filed bankruptcy. There are exceptions to this general statement. See your lawyer if you have questions.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

           After you file your bankruptcy petition, a creditor may ask you to reaffirm a certain debt or you
may seek to do so on your own. Reaffirming a debt means that you sign and file with the court a legally
enforceable document which states that you promise to repay all or a portion of the debt that may otherwise
have been discharged in your bankruptcy case. Reaffirmation agreements must generally be filed with the court
sixty (60) days after the first meeting of creditors.
           Reaffirmation agreements are strictly voluntary. They are not required by the Bankruptcy Code
or other state or federal law. You can voluntarily repay any debt instead of signing a reaffirmation agreement,
but there may be valid reasons for wanting to reaffirm a particular debt. This is particularly true when property
you wish to retain is collateral for a debt.
           Reaffirmation agreements must not impose an undue burden on you or your dependents and
must be in your best interest. If you decide to sign a reaffirmation agreement, you may cancel it at any time
before the court issues an order of discharge or within sixty (60) days after you filed the reaffirmation agreement
with the court, whichever is later.
           If you reaffirm a debt and fail to make the payments as required in the reaffirmation agreement,
the creditor can take action against you to recover any property that was given as security for the loan and you
may remain personally liable for any deficiency. In addition, creditors may seek other remedies, such as
garnishment of wages.

OTHER BANKRUPTCY OPTIONS




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           You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs.
Even if you have already filed for relief under chapter 7, you may be eligible to convert your case to a different
chapter.
           Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is
appointed to collect and sell, if economically feasible, all property you own that is not exempt from these
actions.
           Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also
available to individuals. Creditors vote on whether to accept or reject a plan, which also must be approved by
the court. While the debtor normally remains in control of the assets, the court can order the appointment of
a trustee to take possession and control of the business.
           Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers
must propose a plan to repay their creditors over a three-to-five year period and it must be approved by the
court. Plan payments are made through a chapter 12 trustee, who also monitors the debtors' farming
operations during the pendency of the plan.
           Finally, chapter 13 generally permits individuals to keep their property by repaying creditors
out of their future income. Each chapter 13 debtor writes a plan which must be approved by the bankruptcy
court. The debtors must pay the chapter 13 trustee the amount set forth in their plan. Debtors receive a
discharge after they complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with
regular income whose debts do not exceed $1,000,000 ($250,000 in unsecured debts and $750,000 in secured
debts).

       AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR
EXPLANATION, INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

          By signing below, I/we acknowledge that I/we have received a copy of this document, and that
I/we have had an opportunity to discuss the information in this document with an attorney of my/our choice.



Date    June 18, 2014                                                s/Attila Danku
                                                                     Attila Danku




                                                                    2
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                                        BK OF AMER
                                        4161 PIEDMONT PKWY
                                        GREENSBORO, NC 27410



                                        CITI
                                        POB 6241
                                        SIOUX FALLS, SD 57117



                                        Marin County Tax Assessor
                                        PO Box 4220
                                        San Rafael, CA 94913



                                        ONEWEST BANK
                                        6900 BEATRICE FSB
                                        KALAMAZOO, MI 49009


                                        PATELCO CU
                                        156 SECOND STCREDIT RPTING DISP
                                        CREDIT RPTING DISP
                                        SAN FRANCISCO, CA 94105


                                        SYNCB/CHEVRO
                                        P.O BOX 965015
                                        ORLANDO, FL 32896



                                        THD/CBNA
                                        PO BOX 6497
                                        SIOUX FALLS, SD 57117



                                        Vilma Danku
                                        12 Adrian Way
                                        San Rafael, CA 94903




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                                                 UNITED STATES BANKRUPTCY COURT
                                                        Northern District of California


         Attila Danku
In re:                                                                                               Case No.
                                              Debtors
                                                                                                     Chapter    13


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:      June 18, 2014                                            Signed:   s/Attila Danku




         Dated:                                                               Signed:




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                                WRITTEN NOTICE REQUIRED UNDER SECTION 527(a)(2)


              All information that you are required to provide with a petition and thereafter during a case under title 11
(“Bankruptcy”) of the United States Code is required to be complete, accurate, and truthful.

             All assets and all liabilities are required to be completely and accurately disclosed in the documents filed
to commence the case, and the replacement value of each asset as defined in title 11 United States Code section 506
must be stated in those documents where requested after reasonable inquiry to establish such value.
               Current monthly income, the amounts specified in section 707(b)(2), and, in a case under chapter 13 of
title 11, disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry.
              Information that you provide during your case may be audited pursuant to title 11. Failure to provide
such information may result in dismissal of the case under title 11 or other sanction, including criminal sanctions.


  Date    June 18, 2014                                   s/Attila Danku
                                                          Attila Danku
                                                          Debtor




                                                          Joint Debtor


                                                          s//s/Cory A. Birnberg
                                                          Cory A. Birnberg
                                                          Attorney for Debtor(s)




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                           UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF CALIFORNIA

In re:
         Attila Danku                                             Case No.:



                           Debtor(s)     /


                             CREDITOR MATRIX COVER SHEET

        I declare that the attached Creditor Mailing Matrix, consisting of ____
                                                                             1 sheets, contains
the correct, complete and current names and addresses of all priority, secured and unsecured
creditors listed in debtor=s filing and that this matrix conforms with the Clerk=s promulgated
requirements.

DATED: June 18, 2014


                                       _______________________________________
                                       s//s/Cory A. Birnberg
                                       Signature of Debtor=s Attorney or Pro Per Debtor




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